
56 Cal.Rptr.3d 473 (2007)
154 P.3d 999
SCHWARTZ (Adam A.)
v.
VISA INTERNATIONAL SERVICE ASSOCIATION.
No. S138751.
Supreme Court of California.
March 21, 2007.
Dismissed and remanded to Court of Appeal, First District, Division Two.
In light of the decision in Californians for Disability Rights v. Mervyn's LLC (2006) 39 Cal.4th 223, 46 Cal.Rptr.3d 57, 138 P.3d 207 and Branick v. Downey Savings and Loan Assn. (2006) 89 Cal.4th 235, 46 Cal.Rptr.3d 66, 138 P.3d 214, review in the above-entitled matter is dismissed. (Cal. Rules of Court, rule 8.528(b).)
GEORGE, C.J., KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ., concur.
